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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


JOHN DOE,

        Plaintiff,
                                                              Case No. 20-cv-3720
v.
                                                              Judge
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

        Defendants.



                                                  COMPLAINT

          Plaintiff, JOHN DOE, by undersigned counsel, hereby complains of the Partnerships,

 Unincorporated Associations and others identified in Schedule A attached hereto (collectively,

 “Defendants”), and hereby alleges as follows:1



                                       JURISDICTION AND VENUE

          1.       This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.; 28 U.S.C. § 1338(a) - (b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are


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   Upon assignment of a case number and Judge, Plaintiff shall file an Amended Complaint under seal to identify
 Plaintiff and a Motion for Entry of a Temporary Restraining Order under seal. Because it is unknown when
 Plaintiff’s forthcoming Motion for a Temporary Restraining Order will be ruled upon, Plaintiff’s name is being
 temporarily withheld to prevent Defendants from obtaining advance notice and transferring funds/assets. Plaintiff is
 identified on the trademark registration certificates filed under seal as Exhibits 1 and 2.

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so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademarks.           Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, engaging in interstate commerce, and have wrongfully caused Plaintiff substantial

injury in the State of Illinois.



                                        INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products using infringing and counterfeit versions of Plaintiff’s federally registered

trademarks (the “Counterfeit Products”).




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        4.      Defendants created numerous Internet Stores and design them to appear to be

selling genuine Plaintiff’s products, while selling inferior imitations of Plaintiff’s products.

Defendant Internet Stores share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence, or

series of transactions or occurrences. Defendants attempt to avoid liability by going to great

lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks, as well as to protect unknowing consumers from purchasing

unauthorized products over the Internet. Plaintiff has been and continues to be irreparably

damaged through consumer confusion, dilution, and tarnishment of its valuable trademarks as a

result of Defendants’ actions and seek injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.



                                         THE PLAINTIFF

        6.      Plaintiff designs, manufactures and sells products, which prominently display the

internationally recognized and federally registered Plaintiff’s trademarks (collectively, the

“Plaintiff’s Products”). Plaintiff’s Products have become very popular, driven by Plaintiff’s high

quality standards and distinctive design. Among the purchasing public, genuine Plaintiff’s



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Products are instantly recognizable as such. In the United States and worldwide, Plaintiff’s brand

has come to symbolize high quality and Plaintiff’s Products are well recognized.

       7.      Plaintiff incorporates a variety of distinctive marks in the design of its various

Plaintiff’s Products. As a result of its long-standing use, Plaintiff owns common law trademark

rights. Plaintiff has also registered its trademarks with the United States Patent and Trademark

Office, for which true and correct copies of the United States Registration certificates are

included in Exhibit 1 attached hereto (collectively referred to as “Plaintiff’s Trademarks”).

       8.      The U.S. registrations for Plaintiff’s Trademarks are valid, subsisting, in full force

and effect and incontestable pursuant to 15 U.S.C. § 1065. The registrations for Plaintiff’s

Trademarks constitute prima facie evidence of their validity and of Plaintiff’s exclusive right to

use Plaintiff’s Trademarks pursuant to 15 U.S.C. § 1057(b). Plaintiff’s Trademarks have been

used exclusively and continuously by Plaintiff for many years and have never been abandoned.

       9.      Plaintiff’s Trademarks are exclusive to Plaintiff and are displayed extensively on

Plaintiff’s Products and in Plaintiff’s marketing and promotional materials. Plaintiff’s

Trademarks have been the subject of substantial and continuous marketing and promotion by

Plaintiff at great expense. In fact, Plaintiff has expended significant resources annually in

advertising, promoting and marketing featuring Plaintiff’s Trademarks. Plaintiff’s promotional

efforts include — by way of example, but not limitation — substantial print media, a website,

social media sites, and point of sale materials. Because of these and other factors, Plaintiff’s

name and Plaintiff’s Trademarks have become famous worldwide.

        10.    Plaintiff’s Trademarks are distinctive when applied to Plaintiff’s Products,

signifying to the purchaser that the products come from Plaintiff and are manufactured to

Plaintiff’s quality standards. Whether Plaintiff manufactures the products itself or licenses others



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to do so, Plaintiff has ensured that products bearing its trademarks are manufactured to the

highest quality standards. Plaintiff’s Trademarks have achieved fame and recognition, which has

only added to the inherent distinctiveness of the marks. As such, the goodwill associated with

Plaintiff’s Trademarks is incalculable and of inestimable value to Plaintiff.

        11.     Plaintiff’s Trademarks qualify as famous marks, as used in 15 U.S.C. §1125 (c)(1)

and have been continuously used and never abandoned.

        12.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting its Trademarks.          As a result, products bearing the

Trademarks are widely recognized and exclusively associated by consumers, the public, and the

trade as being products sourced from Plaintiff.



                                        THE DEFENDANTS

        13.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including Illinois and within this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendants’ Internet Stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues

to sell counterfeit products to consumers within the United States, including Illinois and this

Judicial District.

                         THE DEFENDANTS’ UNLAWFUL CONDUCT

        14.     The success of Plaintiff’s brand has resulted in its counterfeiting. Plaintiff has

identified numerous domain names linked to fully interactive websites and marketplace listings



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on platforms such as iOffer, eBay, PayPal, Amazon and DHgate, including the Defendants’

Internet Stores, which were offering for sale, selling, and importing counterfeit products to

consumers in this Judicial District and throughout the United States. Defendants have persisted

in creating the Defendants’ Internet Stores. Internet websites like the Defendant Internet Stores

are estimated to receive tens of millions of visits per year and generate over $135 billion in

annual online sales. According to an intellectual property rights seizures statistics report issued

by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the

U.S. government in 2013 was over $1.74 billion, up from $1.26 billion in 2012. Internet

websites like the Defendants’ Internet Stores are also estimated to contribute to tens of thousands

of lost jobs for legitimate businesses and broader economic damages such as lost tax revenue.

       15.     Upon information and belief, Defendants facilitate sales by designing the

Defendants’ Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine products.     Many of the Defendants’

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards, Western

Union, PayPal, Amazon and DHgate. Defendants’ Internet Stores often include images and

design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Defendants further perpetuate the illusion of legitimacy by offering

“live 24/7” customer service and using indicia of authenticity and security that consumers have

come to associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,

MasterCard®, and PayPal® logos.

       16.     Plaintiff has not licensed nor authorized Defendants to use its Trademarks, and

none of the Defendants are authorized retailers of its genuine products.




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       17.     Upon information and belief, Defendants deceive unknowing consumers by using

Plaintiff’s Trademarks without authorization within the content, text, and/or meta tags of their

websites to attract various search engines looking for websites relevant to consumer searches for

Plaintiff’s products. Additionally, upon information and belief, Defendants use other unauthorized

search engine optimization (SEO) tactics and social media spamming so that the Defendants’

Internet Stores listings show up at or near the top of relevant search results and misdirect

consumers searching for Plaintiff’s genuine products.          Further, Defendants utilize similar

illegitimate SEO tactics to propel new domain names to the top of search results after others are

shut down. As such, Plaintiff seeks to disable the Domain Names owned by Defendants through

which their counterfeit products are sold.

       18.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Internet Stores. For

example, many of Defendants’ names and physical addresses used to register their Domain Names

are incomplete, contain randomly typed letters, or fail to include cities or states. Other Defendants’

Domain Names use privacy services that conceal the owners’ identity and contact information.

Upon information and belief, some of the tactics used by the Defendants to conceal their identities

and the scope and interworking of their counterfeit operations to avoid being shut down include

regularly creating new websites and online marketplace accounts on various platforms using the

identities listed in Schedule A to the Complaint, as well as other fictitious names and addresses.

       19.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendants’ Internet Stores. For example, some of the Defendants’ websites

have identical layouts, even though different aliases were used to register their respective domain

names. In addition, the counterfeit products for sale in the Defendants’ Internet Stores bear



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similarities and indicia of being related to one another, suggesting that the counterfeit products were

manufactured by a common source and that Defendants are interrelated. The Defendants’ Internet

Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, similar payment and check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, similar

hosting services, similar name servers, and the use of the same text and images.

       20.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, when counterfeiters like Defendants receive

notice of a lawsuit they will often register new domain names or online marketplace accounts

under new aliases and move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down demands

sent by brand owners. Counterfeiters will also ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and

Border Protection report on seizure statistics indicated that the Internet has fueled “explosive

growth” in the number of small packages of counterfeit goods shipped through the mail and

express carriers.

       21.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant and eBay, PayPal, Amazon and DHgate accounts behind layers of payment gateways so

that they can continue to operate in spite of Plaintiff’s enforcement efforts. Upon information and

belief, Defendants maintain off-shore bank accounts and regularly move funds from their eBay,

PayPal, Amazon and DHgate accounts to off-shore bank accounts outside the jurisdiction of this



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Court. Indeed, analysis of eBay, PayPal, Amazon and DHgate transaction logs from prior similar

cases indicate that offshore counterfeiters regularly move funds from U.S.-based eBay, PayPal,

Amazon and DHgate accounts to China-based bank accounts outside the jurisdiction of this

Court.

         22.   On information and belief, Defendants are in constant communication with each

other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation and potential new lawsuits.

         23.   Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use Plaintiff’s Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit products into the United

States and Illinois over the Internet. Each Defendants’ Internet Stores offer shipping to the

United States, including Illinois and, on information and belief, each Defendant has offered to

sell counterfeit products into the United States, including Illinois.

         24.   Defendants’ use of Plaintiff’s Trademarks in connection with the advertising,

distribution, offering for sale, and sale of counterfeit products, including the sale of counterfeit

products into Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Plaintiff.



                                             COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

         25.   Plaintiff repeats and incorporates by reference herein the allegations contained

in paragraphs 1-24 of this Complaint.



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        26.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of Plaintiff’s registered Trademarks in

connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

Plaintiff’s Trademarks are highly distinctive marks. Consumers have come to expect the highest

quality from Plaintiff’s products provided under its Trademarks.

        27.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with Plaintiff’s trademarks without Plaintiff’s permission.

        28.     Plaintiff is the registered owner of Plaintiff’s Trademarks (Exhibit 1). The United

States Registrations for Plaintiff’s Trademarks are in full force and effect. Upon information and

belief, Defendants have knowledge of Plaintiff’s rights in its Trademarks and are willfully

infringing and intentionally using Plaintiff’s Trademarks on counterfeit products. Defendants’

willful, intentional, and unauthorized use of Plaintiff’s Trademarks are likely to cause and are

causing confusion, mistake, and deception as to the origin and quality of the counterfeit products

among the general public.

        29.     Defendants’     activities   constitute    willful   trademark   infringement     and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

        30.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of counterfeit Plaintiff’s products.

        31.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known trademarks.



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                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         32.   Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-31 of this Complaint.

         33.   Defendants’ promotion, marketing, offering for sale, and sale of counterfeit products

have created and are creating a likelihood of confusion, mistake, and deception among the general

public as to the affiliation, connection, or association with Plaintiff or the origin, sponsorship, or

approval of Defendants’ counterfeit products by Plaintiff.

         34.   By using Plaintiff’s Trademarks in connection with the sale of counterfeit

products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the counterfeit products.

         35.   Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit products to the

general public under 15 U.S.C. §§ 1114, 1125.

         36.   Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.

                                 COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)

         37.   Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-36 of this Complaint.

         38.   Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit products as those of Plaintiff, causing likelihood of confusion

and/or misunderstanding as to the source of its goods, causing likelihood of confusion and/or


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misunderstanding as to an affiliation, connection, or association with genuine products,

representing that their products have Plaintiff’s approval when they do not, and engaging in other

conduct which creates likelihood of confusion or misunderstanding among the public.

       39.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1 et seq.

       40.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to his reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.



                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using Plaintiff’s Trademarks or any reproductions, counterfeit copies, or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine product or is

             not authorized by Plaintiff to be sold in connection with Plaintiff’s Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             product or any other product produced by Plaintiff that is not Plaintiff’s or not

             produced under the authorization, control, or supervision of Plaintiff and approved by

             Plaintiff for sale under the trademarks;




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       c. committing any acts calculated to cause consumers to believe that Defendants’

           counterfeit products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing Plaintiff’s Trademarks and damaging Plaintiff’s reputation and

           goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

           including Plaintiff’s Trademarks, or any reproductions, counterfeit copies, or colorable

           imitations thereof;

       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Online Marketplace Accounts, the Defendant Domain Names, or any other domain

           name or online marketplace account that is being used to sell or is the means by which

           Defendants could continue to sell counterfeit products; and

       h. operating and/or hosting websites at the Defendants’ Domain Names and any other

           domain names registered or operated by Defendants that are involved with the

           distribution, marketing, advertising, offering for sale, or sale of any product bearing

           Plaintiff’s Trademarks or any reproduction, counterfeit copy or colorable imitation

           thereof that is not a genuine product or not authorized by Plaintiff to be sold in

           connection with its trademarks;

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under


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oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through j, above;

        3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendants’

Domain Names shall be changed from the current registrant to Plaintiff, and that the domain

name registries for the Defendants’ Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendants’ Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendants’ Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendants’ Domain Names and make them inactive and

untransferable;

        4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer, eBay,

PayPal, Amazon and DHgate and any related entities, social media platforms, Facebook,

YouTube, LinkedIn, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts

for the Defendants’ Domain Names, and domain name registrars, shall:

        a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of counterfeit products using Plaintiff’s Trademarks, including any

            accounts associated with the Defendants listed in Schedule A;

        b. disable and cease displaying any advertisements used by or associated with

            Defendants in connection with the sale of counterfeit products using Plaintiff’s

            Trademarks; and




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       c. take all steps necessary to prevent links to the Defendants’ Domain Names identified

            on Schedule A from displaying in search results, including, but not limited to,

            removing links to the Defendants’ Domain Names from any search index;

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of Plaintiff’s Trademarks are increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;

       6)      In the alternative, Plaintiff is awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of its

trademarks;

       7) That Plaintiff is awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.



Dated: June 25, 2020                 Respectfully submitted,


                                     By:     /s/ Michael A. Hierl
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Complaint was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on June 25, 2020.


                                                     s/Michael A. Hierl




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